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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


  IN RE: GENERIC                                           MDL No. 2724
  PHARMACEUTICALS PRICING                                  Case No. 16-MD-02724
  ANTITRUST LITIGATION

                                                           Hon. Cynthia M. Rufe
  THIS DOCUMENT RELATES TO:

  ALL ACTIONS



                            PRETRIAL ORDER NO. 126
                   (ALLOWING WRITTEN DISCOVERY TO PROCEED;
                         LIMITED STAY OF DEPOSITIONS)

       AND NOW, this 5th day of June 2020, upon consideration of the Joint Stipulation [MDL

Doc. No. 1402], it is hereby ORDERED that the stipulation is APPROVED in part as follows:

       1.       The terms outlined below shall apply until August 31, 2020.

       2.       Initial disclosures remain stayed (as per PTO No. 44).

       3.       All types of written discovery, including requests for production of documents,

interrogatories, and requests for admissions, may be served.

       4.       Depositions of individuals on a list that the U.S. Department of Justice provided to

the parties and the Court on April 29, 2020, are stayed.

       5.       Other than the limitations in paragraph 4, the parties may notice depositions and

shall meet and confer as necessary to schedule depositions.

       6.       The parties shall simultaneously serve written discovery requests and notices of

deposition to the U.S. Department of Justice. If the United States objects to any proposed written

discovery request or notice of deposition, the United States will notify the party of the basis for the

objection, and if necessary, bring that objection to the Special Master for resolution pursuant to
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PTO No. 68 (“Special Masters’ Protocol”). The proposed discovery shall be stayed pending

resolution.

       7.       The parties shall not seek and shall not respond to discovery in this MDL about the

criminal investigation that the Antitrust Division of the U.S. Department of Justice is conducting

into the generic pharmaceuticals industry.

       8.       A person responding to a discovery request in this MDL (e.g., subpoena, request

for production of documents, notice of deposition) (“Responding Person”) shall not disclose in

such response what documents or other information have been provided to the Department of

Justice in the course of its criminal investigation into the generic pharmaceuticals industry,

provided that nothing in this paragraph requires any modification of any document control number

or other endorsement on a document, nor prohibits or excuses a Responding Person from providing

documents or other information that previously had been provided to the Department of Justice.

       9.       Nothing in this Order precludes a party or subpoenaed party from objecting to,

moving to quash, or seeking a protective order excusing a response to any discovery request,

provided the objection is made in good faith.

       It is so ORDERED.

                                                       BY THE COURT

                                                        /s/ Cynthia M. Rufe

                                                       CYNTHIA M. RUFE, J.




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